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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                    www.flsb.uscourt.gov


In re:                                                      Case No. 15-24592-LMI

MIGUEL ANGEL RODRIGUEZ                                      Chapter 13

                 Debtor.
                                     /

        CREDITOR YASMIN CARVAJAL’S OBJECTION TO DEBTOR’S
           MOTION TO MODIFY AND MODIFED PLAN [ECF NO. 169]
                                AND
    SUPPLEMENT TO CARVAJAL’S MOTION TO DISMISS CASE FOR OTHER
   REASON (INCLUDING PURSUANT TO 11 USC SECTION 1307(C)(1) AND (C)(6))
                            [ECF NO. 143]

         Secured Creditor, Yasmin Carvajal (“Carvajal”), by and through undersigned counsel,

hereby files her Objection to Debtor’s Motion to Modify Chapter 13 Plan and Proposed

Modified Chapter 13 Plan [ECF No. 169] and Supplement to Carvajal’s Motion to Dismiss Case

For Other Reason (Including Pursuant to 11 USC Section 1307(c)(1) and (c)(6))[ECF No. 143],

and in support thereof, states as follows:

         1. The Debtor and Carvajal reached a settlement on April 18, 2016 ratified by Agreed

            Order Sustaining in Part and Overruling in Part Debtor’s Objection to Claim no. 4-1

            [ECF no. 77](”Court Order”) and the confirmed third amended chapter 13 plan [ECF

            no. 108](“Confirmed Plan”). Exhibit A. The Court Order and confirmed plan both

            required the Debtor to pay Carvajal in month 60, August 2020, the reduced negotiated

            lump sum of $147,184.88. Id. The lump sum payment was never made.
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2. Debtor filed the operative motion to modify 8 months after month 60 on May 6, 2021.

   Now, Debtor seeks to extend the lump sum payment to month 84.

3. The Debtor admitted the balloon mortgage dated April 5, 2006 and recorded on April

   12, 2006 at Official Records Book 24421 at Pages 1829-1838 matured on April 20,

   2011.” ECF no. 159 at 6 (Debtor’s Amended Responses to Creditor’s First Request

   for Production and First Request for Admission). Exhibit B.

4. The Debtor caused unreasonable delay to Creditor Yasmin Carvajal in this matter that

   is prejudicial to Creditor Yasmin Carvajal. Id. at 6.

                    I. ABUSE OF BANKRUPTCY PROCESS

DEBTOR MADE NO EFFORT TO COMPLY WITH COURT ORDER AND/OR
               CONFIRMED CHAPTER 13 PLAN

5. From August 12, 2015 to May 19, 2021, “Debtor has not requested credit from any

   entity.” Id. at 4 and 5.

6. From August 12, 2015 to May 19, 2021, “Debtor has not received any refinance

   estimates.” Id. at 4 and 5.

7. From August 12, 2015 to May 19, 2021, “Debtor has not entered into any listing

   agreements.” Id. at 4 and 5.

8. From August 12, 2015 to May 19, 2021, “Debtor does not have any documents

   reflecting the value of his home.” Id. at 4 and 5.

9. In sum, Debtor made no effort to payoff Carvajal either through refinance or sale of

   property. No credit was sought. Debtor did not even seek an appraisal to determine if

   he could refinance or sell.

10. Based upon the record, Debtor had no intent of paying Carvajal by month 60.
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      11. It would be inequitable to allow Debtor who materially made no effort to comply with

          the Court Order or confirmed plan to now further delay Carvajal.

      12. Furthermore, Carvajal objects to any unequal payments.

                                       II. FEASIBILITY

      13. Carvajal disputes that the proposed modified chapter 13 plan is feasible and

          respectfully requests an evidentiary hearing regarding same.

    III. IN RE GONZALEZ, 832 F. 3D 1251 (11TH CIR. 2016), ESTOPPEL AND 1327

      14. The Code made clear that the provisions of the confirmed plan bind the Debtor and

          Creditor. Debtor should be estopped from receiving the benefit of the ratified

          settlement but then refusing to pay.

      15. Irrespective of the COVID-19 Pandemic, Debtor admittedly did nothing to follow

          through on his promise to pay Carvajal from August 12, 2015 to May 19, 2021.

      16. Carvajal is a now a widower.

      17. This is Carvajal’s fifth objection to plan modification. Carvajal reserves the right to

          amend and/or raise additional issues.

      18. Carvajal incurred additional fees and costs in this matter and seeks same as to Debtor.

       WHEREFORE, Creditor Yasmin Carvajal, respectfully requests that this Honorable

Court enter an Order denying modification of the Debtor’s chapter 13 plan and/or enter an Order

dismissing the chapter 13 case pursuant to 11 U.S.C. §1307(c)(1) and/or 11 U.S.C. §1307(c)(1)

and/or for bad faith and/or some other relevant Code provision and/or for such other relief as the

Court deems just and proper.

                               CERTIFICATE OF ADMISSION

      I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for the
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Southern District of Florida, and am qualified to practice before this Court as set forth in Local

Rule 2090-1(A).

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
served on September 1, 2021 to all registered parties via CM/ECF and:

Lisa M. Castellano, Esq. on behalf of Attorney Brickell Biscayne Condominium Assocation, Inc.
lcastellano@gjb-law.com, btraina@gjb-law.com;vlambdin@gjb-law.com

Maria I. Escoto-Castiello, Esq on behalf of Debtor Miguel Angel Rodriguez
Maria@mec-lawfirm.com

Diangleo S Frazer on behalf of Creditor Wells Fargo Bank, National Association
dfrazer@rasmonitor.com

Seth J Greenhill on behalf of Creditor Ocwen Loan Servicing, LLC
sgreenhill@padgettlaw.net,
desiree.wyatt@padgettlawgroup.com;angelica.reyes@padgettlawgroup.com;NSbkecf@padgettla
w.net;PLG@ecf.courtdrive.com;bkecf@padgettlaw.net

April Harriott on behalf of Creditor Wells Fargo Bank, National Association
aharriott@raslg.com

Jennifer Margolis Marquez on behalf of Creditor Urological Associates of South Florida, P.A.
jenmargolis@bellsouth.net, gail@newmanmarquezpa.com

Karena Mattingly on behalf of Attorney Brickell Biscayne Condominium Assocation, Inc.
kmattingly@bplegal.com

Nancy K. Neidich
e2c8f01@ch13miami.com, ecf2@ch13miami.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Ariel Sagre on behalf of Creditor Yasmin Carvajal
law@sagrelawfirm.com

Christopher P Salamone on behalf of Creditor Wells Fargo Bank, National Association
csalamone@raslg.com, csalamone@raslg.com

Peter D Spindel on behalf of Debtor Miguel Angel Rodriguez
peterspindel@gmail.com, peterspindelcmecf@gmail.comvia
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First-class US Mail
Miguel Angel Rodriguez
150 SE 25th Road, Unit 5F
Miami, FL 33129
Debtor

                                  Respectfully submitted,

                                  SAGRE LAW FIRM, P.A.
                                  Attorney for Yasmin Carvajal
                                  5201 Blue Lagoon Drive, Suite 892
                                  Miami, FL 33126
                                  Telephone: (305) 266-5999, Facsimile: (305) 265-6623
                                  E-Mail: law@sagrelawfirm.com
                            By:   /s/ Ariel Sagre
                                  ARIEL SAGRE, ESQ.
                                  Florida Bar No.: 557447
